              IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                                    DIVISION
MARY IONELLA KNIGHT and              )
MARK STAJDUHAR,                      )       JUDGMENT IN A CIVIL CASE
                  Plaintiff,         )
                                     )
vs.                                  )       Case No. 05-1145-CV-W-ODS
                                     )
JO ANNE B. BARNHART,                 )
Commissioner of Social Security,     )
                  Defendant.         )
_____      Jury Verdict. This action came before the Court for a trial by jury. The
           issues have been tried and the jury has rendered its verdict.

__X___      Decision by Court. The issues have been considered and a decision has
            been rendered by the Court.

      IT IS ORDERED AND ADJUDGED granting Defendants’ Motio for Extension of
Time and granting Plaintiffs’ Motion to Remand.
                                            PATRICIA L. BRUNE, Clerk




DATE: 12/28/2005                            _/s/_______________________
                                            Eva Will-Fees
